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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


 NESSIA DILLARD,

       Plaintiff,

 v.                                               CIVIL ACTION
                                                  FILE NO. ___________
 LEROY SMITH and MARTEN
 TRANSPORT LTD.,

       Defendants.


                          NOTICE OF REMOVAL

      Petitioner Marten Transport, Ltd. hereby submits this Notice of

Removal of the action herein referred to from the State Court of Gwinnett

County, Georgia, to the United States District Court for the Northern District

of Georgia, Atlanta Division, and respectfully shows to the Court the

following:

                                      1.

      Petitioners herein are two of the Defendants in a civil action brought in

the State Court of Gwinnett County, Georgia, that is entitled NESSIA

DILLARD v. LEROY SMITH and MARTEN TRANSPORT, LTD., Civil

Action File No. 18C00401-5. Attached hereto and made a part hereof as an
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Exhibit is a true and correct copy of the following pleadings1 that are on file

with the State Court of Gwinnett County:

         Exhibit “A” - Summons and Plaintiff’s Complaint;

         To the best of Petitioner’s knowledge, Exhibit “A” constitutes all of the

pleadings which have been filed in the State Court of Gwinnett County in the

subject case.

                                              2.

         The aforementioned action was commenced by the filing of the

Complaint on January 22, 2018. Marten was served on January 25, 2018.

                                              3.

         This Petition is filed within thirty (30) days after receipt by the

Petitioner, through service or otherwise, of a copy of a pleading, amended

pleading, motion, order or other paper from which it may first be ascertained

that the case is one which is or has become removable, pursuant to 28 U.S.C.

§1446(b) and F.R.C.P. 6(a)(1)(c).2




1Numerous discovery documents have been filed in the State Court action. But, as
Defendant understands the Federal Rules and this Court’s Rules, discovery
materials are not pleadings and are not to be filed unless and until needed as
evidence in the action. Therefore discovery materials are expressly excluded from
this listing and will not be filed with the Court.
2   This Notice is filed within 30 days of the date of the filing of the suit.


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                                         4.

      This Court has jurisdiction over this action pursuant to §1332 of Title

28 of the United States Code because there is complete diversity of

citizenship between the Plaintiff and all Defendants and because the amount

in controversy exceeds $75,000.00, exclusive of interest and costs.3

                                         5.

      Upon information and belief, Petitioner shows that the controversy

between the Plaintiff and Defendants is a controversy between a citizen and

resident of the State of Georgia (Plaintiff) and the Defendants, none of which

is a citizen or resident of the State of Georgia.

                                         6.

      Plaintiff was at the time of the commencement of this action and still is

a citizen and resident of the State of Georgia. (Complaint ¶1).

                                         7.

      Defendant Smith was at the time of the commencement of this action

and still is a citizen and resident of the State of Texas.




3While the Complaint is silent as to an exact amount of damages being sought, in a
pre-suit demand letter Plaintiff’s counsel asserted that Plaintiff had incurred
$77,604.25 in medical specials and $18,000 in lost wages as of July 2017. Thus,
while denying liability for these alleged damages, Petitioner has a good faith belief
that the amount in controversy exceeds the $75,000 threshold requirement to


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                                          8.

      Petitioner Marten was at the time of the commencement of this action

and still is a corporation organized under the laws of the State of Delaware,

whose principal place of business is Wisconsin.

                                          9.

      All of the named Defendants are diverse from Plaintiff and complete

diversity exists. The matter in controversy exceeds the value of $75,000.00,

exclusive of interest and costs, and is a civil action brought in a State Court

of the State of Georgia, of which the United States District Courts have

original jurisdiction because of diversity of citizenship and the amount in

controversy pursuant to 28 U.S.C. §1332.

                                         10.

      Based on the complete diversity that exists between the parties and the

amount in controversy, the pending action is one that Petitioner is entitled to

remove to this Court pursuant to 28 U.S.C. §§1332, 1446(b).




invoke diversity jurisdiction. See Farley v. Variety Wholesalers, Inc., 2013 U.S. Dist.
LEXIS 57740 (M.D. Ga. Apr. 23, 2013).



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     WHEREFORE, Petitioner prays that this Petition for Removal be filed

and that said action be removed to and proceed in this Court and that no

further proceedings be had in the said case in the State Court of Gwinnett

County, Georgia.

     Respectfully submitted this 21st day of February, 2018.



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                                                      Exhibit A
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       Defendants.


                CERTIFICATE OF SERVICE and
      CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1(C)

      This is to certify that I have this day served counsel in the foregoing
matter with a copy of the foregoing PETITION FOR REMOVAL with
Exhibit “A” attached thereto, together with Attorney’s Affidavit, Affidavit of
Filing in State Court of Gwinnett County, and Notice of Filing by depositing
in the United States Mail a copy of same in an envelope with adequate
postage thereon, addressed as follows:
                           Riah W. Greathouse
                         260 Peachtree Street, NW
                                Suite 1600
                            Atlanta, GA 30303
                           Counsel for Plaintiff
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        Counsel for Plaintiff I further certify pursuant to Rule 7.1 of the Local

Rules for the Northern District of Georgia that this document has been

prepared in “Century Schoolbook” font, 13 point, as required by Local Rule

5.1(C).

        Respectfully submitted this 21st day of February, 2018.




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